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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re                                                                   Chapter 11

             STANADYNE LLC, et al.,1                                                 Case No. 23-10207 (TMH)

                               Debtors.                                              (Jointly Administered)

                                                                                     Ref. Docket Nos. 245, 276, 393 & 425



                     NOTICE OF FILING OF FURTHER REVISED PROPOSED SALE ORDER

                 PLEASE TAKE NOTICE that on April 27, 2023, the above-captioned debtors and
         debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of: (A) an
         Order (I) Scheduling a Hearing on the Approval of the Sale of All or Substantially All of the
         Debtors’ Assets Free and Clear of All Encumbrances Other than Assumed Liabilities and
         Permitted Encumbrances, and the Assumption and Assignment of Certain Executory Contracts
         and Unexpired Leases, (II) Approving Certain Bidding Procedures and Assumption and
         Assignment Procedures, and the Form and Manner of Notice Thereof, (III) Authorizing the
         Debtors to Enter into the Stalking Horse Purchase Agreement, and (IV) Granting Related Relief;
         and (B) an Order (I) Approving Asset Purchase Agreement, (II) Authorizing the Sale of All or
         Substantially All of the Debtors’ Assets Free and Clear of All Encumbrances Other than Assumed
         Liabilities and Permitted Encumbrances, (III) Authorizing the Assumption and Assignment of
         Certain Executory Contracts and Unexpired Leases, and (IV) Granting Related Relief [Docket No.
         245] (the “Sale Motion”)2 with the United States Bankruptcy Court for the District of Delaware
         (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that, on May 16, 2023, the Court entered that
         certain Order (I) Approving Bidding Procedures, (II) Scheduling an Auction and a Sale Hearing,
         (III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures
         for the Assumption and Assignment and Sale of Contracts and Leases, and (V) Granting Related
         Relief [Docket No. 276] (the “Bidding Procedures Order”). Pursuant to the Bidding Procedures
         Order, the Court scheduled a hearing to approve the Sale for July 10, 2023 at 10:00 a.m. (ET) (the
         “Sale Hearing”).

                PLEASE TAKE FURTHER NOTICE that on June 21, 2023, the Debtors filed the Notice
         of Proposed Sale Order [Docket No. 393], which attached as Exhibit A thereto a proposed form
         of order approving the Sale Motion (the “Proposed Sale Order”).



             1
                 The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
                 number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc.
                 (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
                 Street, Jacksonville, North Carolina 28546.
             2
30521169.2       Capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Sale
                 Motion.
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                 PLEASE TAKE FURTHER NOTICE that, on July 6, 2023, the Debtors filed the Notice
         of Filing of Revised Proposed Sale Order [Docket No. 425], which attached as Exhibit A thereto
         a revised Proposed Sale Order (the “Revised Proposed Sale Order”).

                PLEASE TAKE FURTHER NOTICE that following negotiations between the Debtors,
         the Official Committee of Unsecured Creditors (the “Committee”), the Prepetition Agent and
         Purchaser, the Debtors have revised the Revised Proposed Sale Order (the “Further Revised
         Proposed Sale Order”) to capture agreements reached in connection with the proposed Sale.

                PLEASE TAKE FURTHER NOTICE that, annexed to the Further Revised Proposed
         Sale Order attached hereto as Exhibit A, are the following exhibits:3

                        •   Exhibit A to Further Revised Proposed Sale Order: Asset Purchase Agreement

                        •   Exhibit B to Further Revised Proposed Sale Order: Final Cure Amounts

                        •   Exhibit C to Further Revised Proposed Sale Order: Contracts with Unresolved Cure
                            Amounts

                        •   Exhibit D to Further Revised Proposed Sale Order: Settlement Term Sheet
                            reflecting agreement reached among the Prepetition Agent, the Purchaser and the
                            Committee

                 PLEASE TAKE FURTHER NOTICE that, for the convenience of the Court and all
         interested parties, a blackline comparing the Further Revised Proposed Sale Order against the
         Revised Proposed Sale Order is attached hereto as Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that the Debtors intend to present the Further
         Revised Proposed Sale Order, in substantially the form attached hereto as Exhibit A, at the Sale
         Hearing. The Debtors reserve all rights to modify the Further Revised Proposed Sale Order at or
         prior to the Sale Hearing.

                                [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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30521169.2       Except for the addition of Annex I to Exhibit A, Exhibits A, B, and C have not changed since the filing of the
                 Revised Proposed Sale Order.
                                                                    2
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             Dated: July 9, 2023               YOUNG CONAWAY STARGATT &
                    Wilmington, Delaware       TAYLOR, LLP

                                               /s/ Ashley E. Jacobs
                                               Michael R. Nestor (DE Bar No. 3526)
                                               Andrew L. Magaziner (DE Bar No. 5426)
                                               Ashley E. Jacobs (DE Bar No. 5635)
                                               1000 North King Street
                                               Rodney Square
                                               Wilmington, Delaware 19801-6108
                                               Telephone: (302) 571-6600
                                               Facsimile: (302) 571-1253
                                               Email: mnestor@ycst.com
                                                       amagaziner@ycst.com
                                                       ajacobs@ycst.com

                                                 -and-

                                               Kathryn A. Coleman
                                               Christopher Gartman
                                               Jeffrey S. Margolin
                                               HUGHES HUBBARD & REED LLP
                                               One Battery Park Plaza
                                               New York, NY 10004-1482
                                               Telephone: (212) 837-6000
                                               Facsimile: (212) 422-4726
                                               Email: katie.coleman@hugheshubbard.com
                                                       chris.gartman@hugheshubbard.com
                                                       jeff.margolin@hugheshubbard.com

                                               Counsel for the Debtors




30521169.2

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